Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 1 of 8
Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 2 of 8
Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 3 of 8
Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 4 of 8
Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 5 of 8
Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 6 of 8
Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 7 of 8
Case 1:14-cv-01904-EGS-ZMF Document 11 Filed 12/22/15 Page 8 of 8
